  Case 20-00857           Doc 29       Filed 09/09/20 Entered 09/09/20 10:01:32              Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF IOWA


IN RE:                                                                      Chapter 7 Bankruptcy
                                                                             Case No. 20-00857
RONALD A. BUEHLER,
                                                                 ORDER re MOTION TO APPROVE
                  Debtor.                                               COMPROMISE
                                                                    (John and Diane Cassens)

         The matter before the Court is a Motion to Approve Compromise filed by Trustee

Sheryl Schnittjer re John and Diane Cassens (Dkt #23, filed Aug. 18, 2020). Due and

proper notice of the filing of the Motion and of any objection bar date was issued to the

requisite parties in interest. The objection bar date has passed, and no objection has been

filed. It is therefore ORDERED any and all relief requested by the Trustee in the Motion are

granted, and the settling parties are directed and authorized to do anything and everything

reasonably necessary to effectuate the compromise.

        Dated  and
         Entered   Entered:
                 this 9th day of Sept., 2020.

 September 9, 2020



                                                       __________________________________
                                                       Honorable Thad J. Collins, Chief Judge
Order prepared by
Eric W. Lam AT0004416
Attorney for Trustee
SSTE Buehler/Pldgs/BA 20-00857 Drafts/ORDERreMtn to Compromise re Cassens.090920.0842.ewl
